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Tavonda Willis                                          §                  IN THE DISTRICT COURT OF
                                                        §
-VS-                                                    §                  HARRIS COUNTY, TEXAS
                                                        §
Kroger Texas, LP                                        §                        JUDICIAL DISTRICT

          PLAINTIFE’S ORIGINAL PETITION WITH REQUEST FOR DISCLOSURES

TO THE HONORABLE JUDGE OF SAID COURT:


        COMES NOW, TAVONDA WILLIS, hereinafter referred to as Plaintiff, and complains KROGER

TEXAS, LP, hereinafter referred to as Defendant. Whether one or more, and files this her Original Petition

and would respectfully show this Honorable Court as follows:


                                          I.         Discovery Control Plan

        1.1     Pursuant Rule 190.3 of the Texas Rules of Civil Procedure, Plaintiff alleges that discovery in this

case should be conducted under Level of this Rule



                                               IL.      Request for Disclosure

        2.1     Pursuant to Rule 1940f the Texas Rules of Civil Procedure, Defendants are requested to disclose


the information and material described in Rule 194.2 within fifty days of the service of this request.


                                                            III. Parties


        3.1     Plaintiff is a resident of Harris County, Houston, Texas.


        32      Defendant, KROGER TEXAS, LP is a Delaware limited liability company corporation
authorized to transact business in the State of Texas. Defendant, KROGER TEXAS, LP’s principle place
of business is in Texas and may be served with citation by serving its registered agent, Corporation Service
Company d/b/a CSC-Lawyers Incorporating Service Company at 211 E. 7% Street, Suite 620, Austin, Texas 78701-
3218.




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                                                     IV. Jurisdiction


        4.1      The Court has jurisdiction of the subject matter of this lawsuit and the amount in controversy

is within the minimum jurisdictional limits of this Honorable Court. The Plaintiff seeks monetary relief of

over $250,000.00 but no more than $1,000,000.00 dollars.


        42       The     court has personal jurisdiction   over Defendant   KROGER       TEXAS,    LP   because

Defendant maintains continuous and systematic contacts within the State of Texas owning, leasing, servicing

and/or providing services throughout the State of Texas. Additionally, Defendants maintain a registered agent

in the State of Texas.


                                                  VI. Venue


        5.1     Venue is proper and maintainable in Harris County, Texas, pursuant to §15.002(a)(1) of the

Texas Civil Practice & Remedies Code because all or a substantial part of the events giving rise to the claim

occurred in Harris County, Texas.


                                                  VI. Factual Background


        6.1      On or about December 18, 2021, Plaintiff Tavonda Willis was and invitee at Kroger’s located

at 9125 W.    Sam Houston Parkway N., Houston, Texas 77064, Harris County, Texas. Plaintiff's serious

injuries occurred when she was walking inside of the grocery store in an aisle near the detergent products

when she slipped thought to be liquid detergent and falling onto the floor striking her body twisting her ankle.

The liquid detergent had been allowed to remain in the area of the pedestrian aisle in an area designed for use

by patrons/invitees of the grocery store. The liquid detergent had been in the area for a long enough period of

time that the Defendant should have known of the dangerous condition, or alternatively the Defendant had

actual knowledge of the dangerous condition. Due to the severity of the injuries. Ms. Willis required medical

treatment and surgery and remains disabled.

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         6.2      At the time of the incident, Plaintiff was an invitee on the property in question. The property

is owned, controlled, and/or managed by Defendant KROGER            TEXAS, LP. At no time did Plaintiff do or

fail to do anything which caused or in anyway contributed to the incident in question. Plaintiff received no

warnings prior to the incident and was fault. Said incident was proximately caused by the negligence of

Defendant and/or Defendant’s agents, servants, employees and/or representatives.


                                    VII. Negligence of Defendant, KROGER TEXAS, LP


         7.1      At the time ad on the occasion in question, Defendant KROGER        TEXAS, LP, owed duties


to Plaintiff, including but not limited to the following and, by various acts and omissions, breached these

duties, each of which singularly or in combination, was a proximate cause of the occurrence in question and

Plaintiff’s injuries.


         a.       Plaintiff was an invitee on the property;


         b.       A condition on the premises posed an unreasonable risk of harm;


         C.       Defendant knew or reasonably should have known of the risk of harm;


         d.       Defendant had a duty to use ordinary care to ensure that the premises did not present a

                  danger to Plaintiff. This duty includes the duty to inspect and the duty to warn or make the

                  condition safe.


         e.       Defendant breached the duty of ordinary care by allowing the substance to remain on the

                  floor;


         f        Defendant breached the duty of ordinary are by falling to adequately warn of the dangerous

                  condition or failing to make the condition reasonably safe; and;


         8.       Defendant’s breach proximately caused the Plaintiff’s injuries.


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        7.2        Atthe time of the incident in question, Defendant KROGER TEXAS, LP and its agents

servants, employees and/or representatives, controlled, serviced and/or maintained the exact premises in

question where the incident took place. Defendant owed a duty to Plaintiff to prevent foreseeable risk of

injury and assumed a duty to provide a safe premises. As a matter of routine, Defendant should have

discovered the dangerous condition and taken corrective action in a timely manner, but failed to do so.

Specifically, Defendant breached its duty of care by allowing the fruit thought to be berries and/or grapes to

remain on the floor of the pedestrian aisle of the grocery store and by not promptly assuring that invitees to

the grocery store had a safe surface on which to walk while visiting and grocery shopping inside of

Kroger’s. Defendant’s failure to exercise reasonable care proximately caused the incident in question and

the resulting damages.


                                            VIII. Respondeat Superior

        8.1        Plaintiff states that at the time of the occurrence made the basis of this suit, the

individuals responsible for the upkeep of the of the walking/pedestrian areas of the grocery store were

acting in the capacity as an agent, servant, and/or employee of Defendant KROGER TEXAS, LP, and

were acting within the course and scope of their authority as such. Therefore, the doctrine of Respondeat

Superior should be applied to Defendants and they should be held responsible for the acts of their agents

and/or employees and/or servants.

        8.2        Plaintiff states that the foregoing, Defendants and their agents, representatives, servants

and/or employees are jointly and severally liable for the damages and the injuries of Plaintiff.

                                                    IX. Damages


             9.1    By reason of the foregoing, Plaintiff has sustained damages for which she seeks
                    compensation under the law;
        a.         physical pain and suffering sustained by Plaintiff in the past and, in all reasonable
                   probability, that Plaintiff will sustain in the future.

        b.         mental anguish sustained by Plaintiff in the past and, in all reasonable probability, that
                   Plaintiff will sustain in the future.
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        C.       medical expense Plaintiff has incurred in the past and, in all reasonable probability, that
                 Plaintiff will sustain in the future.

        d.       disfigurement sustained by Plaintiff in the past and, in all reasonable probability, that
                 Plaintiff will sustain in the future.

        e.       physical impairment sustained by Plaintiff in the past and, in all reasonable probability,
                 that Plaintiff will sustain in the future.

       f         all other elements of damage to which Plaintiff may show herself to be entitled to under
                 law.


                                        X. Interest

        10.1     In addition to the above and foregoing allegations, Plaintiff further pleads that she is

entitled to pre-judgment and post-judgment interest at the highest rate allowed by law.


                                        XI. Prayer


        11.1     FOR THESE REASONS, Plaintiff prays that Defendant be duly cited to appear and

answer herein, and that upon a final trial of this cause of action Plaintiff recover:

        (a)      Judgment against the Defendant, for Plaintiff’s actual damages as set forth above, in an

                 amount within the jurisdictional limits of this Court;

        (b)      Pre-judgment interest and post-judgment interest as provided by law;

        (©)      Costs of court;

        (d)      Such other and further relief to which Plaintiff may be entitled.




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                                        Respectfully submitted,

                                        DeSimone Law Office

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